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 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:20-CR-219-WBS
11
                                  Plaintiff,           STIPULATION AND ORDER TO RESCHEDULE
12                                                     THE DEFENDANT’S SENTENCING HEARING
                           v.                          AND CORRESPONDING DATES
13
     ASHLEY AURICH,
14

15                               Defendant.

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18          Pursuant to an agreement between the parties, and the probation officer, Defendant ASHLEY

19 AURICH, respectfully requests the Court to vacate the status hearing regarding sentencing on

20 September 26, 2022, at 9:00 a.m., and to reschedule sentencing to December 12, 2022, at 9:00 a.m. and

21 to adopt the following schedule for Disclosure and Sentencing in the above-referenced matter:

22 Judgment and sentencing date:                                          December 12, 2022 at 9:00 a.m.
23 Sentencing memoranda and motion for                                                  December 5, 2022
   correction/formal objections to be filed no later
24 than:

25 A final Pre-Sentence Report with responses to                                      November 21, 2022
   Informal objections shall be filed with the court and
26 disclosed to counsel no later than:
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             Case 2:20-cr-00219-WBS Document 31 Filed 09/20/22 Page 2 of 2

 1 Counsel’s written informal objections to the draft                                        November 7, 2022
   Pre-Sentence Report shall be delivered to the
 2 Probation Officer and opposing counsel no later
   than:
 3

 4 The draft Pre-Sentence Report is due no later than:                                n/a (it has already issued)

 5

 6
     Dated: September 19, 2022                               PHILLIP A. TALBERT
 7                                                           United States Attorney
 8
                                                   By: /s/ ROSANNE L. RUST
 9                                                     ROSANNE L. RUST
                                                       Assistant United States Attorney
10
     Dated: September 19, 2022
11

12
                                                   By: /s/ JOHNNY L. GRIFFIN III
13                                                     JOHNNY L. GRIFFIN III
                                                       Counsel for defendant
14                                                     Ashley Aurich
15

16                                                 ORDER

17         IT IS SO FOUND AND ORDERED.

18 Dated: September 19, 2022

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